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                  EXHIBIT E
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                                                                                                                 CO 226
                                                                                                             Rev. 6/2018


                    UNITED STATES DISTRICT AND BANKRUPTCY COURTS
                             FOR THE DISTRICT OF COLUMBIA
 DR. SAAD ALJABRI,


 _________________________________________
                         Plaintiff(s)

         vs.                                                           Civil Action No.: 1:20-cv-02146-TJK
 MOHAMMED BIN SALMAN BIN ABDULAZIZ AL
 SAUD, et al.
 _________________________________________
                         Defendant(s)


                               AFFIDAVIT REQUESTING FOREIGN MAILING

         I, the undersigned, counsel of record for plaintiff(s), hereby request that the Clerk mail a copy of the
 summons and
 summons andcomplaint
             complaint (and notice of suit, where applicable) to (list name(s) and address(es) of defendants):
 Ahmed Alassiri
 General Intelligence Presidency (Re'asat al Istikhabarat al A'amah)
 Building 1054, Al Orouba Street (in front of Panda Market)
 P.O. Box 277
 Riyadh 11972
 SAUDI ARABIA

 by: (check one)                !      certified or registered mail, return receipt requested
                                !      DHL
                                !      Fed Ex
 pursuant to the provisions of: (check one)
                                !      FRCP 4(f)(2)(C)(ii)
                                !      28 U.S.C. § 1608(a)(3)
                                !      28 U.S.C. § 1608(b)(3)(B)
                                !      28 U.S.C. § 1608(a)(4)


       I certify that Jenner & Block contacted the Directorate of Overseas Citizens Services at the
U.S. Department of State, which indicated that it can neither confirm nor deny that the domestic law in the
Kingdom of Saudi Arabia permits service by mail.

                                                                           /s/ David Pressman
                                                                                 (Signature)
                                                                David Pressman (admitted pro hac vice)
                                                                D.C. Bar No. 1013431
                                                                Jenner & Block LLP
                                                                919 Third Avenue
                                                                New York, NY 10022
                                                                Telephone: (212) 891-1654
                                                                            (Name and Address)
